                                   Case 23-17488-RAM                  Doc 1        Filed 09/19/23           Page 1 of 9


Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Captain Yuri's Charters, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Two Fish Charters
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3330 Northside Dr Apt 322
                                  Key West, FL 33040
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monroe                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.tortugasfishing.com/home.html


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Captain Yuri's Charters, Inc.                                                                Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7139

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                    Case 23-17488-RAM                    Doc 1        Filed 09/19/23             Page 3 of 9
Debtor   Captain Yuri's Charters, Inc.                                                              Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any           Yes.
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                        50-99                                            5001-10,000                                 50,001-100,000
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                      $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Captain Yuri's Charters, Inc.                                                             Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        September 19, 2023
                                                  MM / DD / YYYY


                             X /s/       Yuri Vakselis                                                     Yuri Vakselis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title     President




18. Signature of attorney    X /s/ Chad Van Horn                                                           Date    September 19, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Chad Van Horn
                                 Printed name

                                 Van Horn Law Group, P.A.
                                 Firm name

                                 500 NE 4th Street, Suite 200
                                 Fort Lauderdale, FL 33301
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (954) 765-3166               Email address      chad@cvhlawgroup.com

                                 64500 FL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Captain Yuri's Charters, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bev Furguson                                                                                                                                                               $2,000.00
 PO Box 310479
 Atlanta, GA 31131
 Centennial Bank                                                Magic, 2008 42'                                     $166,882.06                        $0.00            $166,882.06
 Attn: Connie Bacher                                            Africat Marine with
 1606 1st Street South                                          Volvo twin 370hp
                                                                diesel engine,
 Winter Haven, FL                                               XKJ42022D808
 33880
 Centennial Bank                                                Lauren Jeanne,                                       $90,456.32                        $0.00              $90,456.32
 Attn: Connie Bacher                                            2007 50' Custom
 1606 1st Street South                                          Cats with Yanmar
                                                                twin 315hp diesel
 Winter Haven, FL                                               engine,
 33880                                                          USCC01330708
 Daniel Grzyboski                                                                                                                                                           $1,500.00
 6171 South Creek
 Road
 Fleming Island, FL
 32003
 Intuit Payment                                                                                                                                                             $5,940.00
 Solutions
 2700 COAST
 AVENUE
 Mountain View, CA
 94043
 Joe Mares                                                                                                                                                                $10,500.00
 630 Eaton St. #5
 Key West, FL 33040
 Joseph Carter                                                                                                                                                              $2,000.00
 9702 Malaga Ct Apt
 101
 Palm Beach Gardens,
 FL 33418
 Maria Gay                                                                                                                                                                $58,121.00
 173 Galleon Ln.
 Summerland Key, FL
 33042

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Captain Yuri's Charters, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Marine Diesel of the                                                                                                                                                     $10,492.00
 Florida Keys
 6021 Peninsular Ave
 Key West, FL 33040
 Mark Batway                                                                                                                                                                $3,000.00
 691 100th Ave N.
 Naples, FL 34108
 Max Parker                                                                                                                                                                 $3,400.00
 305 E Ocean Ave.
 TH7
 Lake Worth, FL
 33462
 Michael Shane                                                                                                                                                              $5,962.00
 Leonard
 10 Ventana Lane
 Key West, FL 33040
 Mickey Allen                                                                                                                                                               $7,200.00
 6715 Bulrush Ct.
 West Palm Beach, FL
 33413
 Pat Rice                                                                                                                                                                   $7,200.00
 6800 SW 77 Terrace
 S.
 Miami, FL 33143
 Ray Decker                                                                                                                                                                 $2,000.00
 229 Olean St. SW
 Palm Bay, FL 32908
 SBA                                                                                                                                                                    $177,367.00
 409 409 3rd St., SW
 Washington, DC
 20416
 Tom Carney                                                                                                                                                                 $2,000.00
 5084 NE 12th Ave.
 Fort Lauderdale, FL
 33334
 Tom Rittenhouse                                                                                                                                                            $1,000.00
 3401 Carlton Ln.
 Fort Lauderdale, FL
 33330
 Victor A. Santana                                                                                                                                                          $5,400.00
 5948 SW 42 Terrace
 Miami, FL 33155
 Ward and Meyers,                                                                                                                                                         $11,839.00
 CPA
 3706 North Roosevelt
 Blvd, Unit 208
 Key West, FL 33040




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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            Akerman LLP
            777 South Flagler Drive
            Suite 1100 West Tower
            West Palm Beach, FL 33401


            Bev Furguson
            PO Box 310479
            Atlanta, GA 31131


            Centennial Bank
            Attn: Connie Bacher
            1606 1st Street South
            Winter Haven, FL 33880


            Centennial Bank
            PO Box 906
            Conway, AR 72033


            Centennial Bank
            2514 N Roosevelt Blvd
            Key West, FL 33040


            Daniel Grzyboski
            6171 South Creek Road
            Fleming Island, FL 32003


            Florida Department of Revenue
            PO Box 6668
            Tallahassee, FL 32314-6668


            Florida Department of Revenue
            8175 NW 12th Street, Suite 119
            Miami, FL 33126-1828


            Internal Revenue Service
            PO Box 7346
            Philadelphia, PA 19101


            Internal Revenue Service
            7850 SW 6th Court #5730
            Fort Lauderdale, FL 33324-3202


            Intuit Payment Solutions
            2700 COAST AVENUE
            Mountain View, CA 94043


            Joe Mares
            630 Eaton St. #5
            Key West, FL 33040


            Joseph Carter
            9702 Malaga Ct Apt 101
            Palm Beach Gardens, FL 33418
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            Key West Holding Group, LLC
            460 Modoc Ave
            Oakland, CA 94618


            Linda A. Bornholdt
            460 Modoc Ave
            Oakland, CA 94618


            Maria Gay
            173 Galleon Ln.
            Summerland Key, FL 33042


            Marine Diesel of the Florida Keys
            6021 Peninsular Ave
            Key West, FL 33040


            Mark Batway
            691 100th Ave N.
            Naples, FL 34108


            Max Parker
            305 E Ocean Ave. TH7
            Lake Worth, FL 33462


            Michael Shane Leonard
            10 Ventana Lane
            Key West, FL 33040


            Mickey Allen
            6715 Bulrush Ct.
            West Palm Beach, FL 33413


            Midgard Self Storage
            2600 N Roosevelt Blvd
            Key West, FL 33040


            Oasis Marina
            Attn: Manager
            222 Severn Ave. Suite 200 Building 14-20
            Annapolis, MD 21403


            Pat Rice
            6800 SW 77 Terrace S.
            Miami, FL 33143


            Ray Decker
            229 Olean St. SW
            Palm Bay, FL 32908


            SBA
            409 409 3rd St., SW
            Washington, DC 20416


            Tom Carney
            5084 NE 12th Ave.
            Fort Lauderdale, FL 33334
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            Tom Rittenhouse
            3401 Carlton Ln.
            Fort Lauderdale, FL 33330


            Victor A. Santana
            5948 SW 42 Terrace
            Miami, FL 33155


            Ward and Meyers, CPA
            3706 North Roosevelt Blvd, Unit 208
            Key West, FL 33040
